 

 

 

UNITED STATES DISTRICT COURT wi 00 0
NORTHERN DISTRICT OF ILLINOIS

 

 

 

 

EASTERN DIVISION crn ang, STIS Sauer
QAothan uy Sunes
Ne 201293
(Enter above the full name
tis re ntff or plaints in 14.C 8953
Judge Matthew F. Kennelly
vs. Magistrate Judge Mary M. Rowland

—_l¢ LA Was

ison ec Keview Boord
etenoart* SJ. onlnolkz.
Michael Green

Xcbect (untnasn\Pogle Aeon’

“Tracy (it A mk
(Enter 6 the full name of ALL

defendants in this action. Donot
use. "et al,")

CHECK ONE ONLY:

Vv COMPLAINT UNDERTHE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO “INSTRUCTIONS FOR
FILING.” FOLLOW THESE INSTRUCTIONS CAREFULLY,

 

\—_—

 

 

 
 

35
Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 2 of 25 PagelD #:3

I. Plaintiff(s):
A. Name: Diath oo ) Somes
B. List all aliases: ALA
C. _ Prisoner identification number: _(Y)— 2072
D

 

Place of present confinement: ral Ui lle Cay Pechiong,\ Cane: /MiPt

OE

-E. Address; \:°). ( Jo wh El ya]

1. Defendant(s): ,
(In A below. place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is Provided in B and C.)
A. Defendant: _[ Cc C Sh Lowy ONS

Titles Uo den
Place of Employment: Store ),\\p Carectigngl Center
B. Defendant: Possnec Kevieus Banc d

Tide: Dicectog _

Place of Employment: 2H e (Qe.
C. Defendant: Steak \ Urnlalkz
Tite: Slole Actor nes
Place of Employment: —(G7e1. 9¢\\ Coons pelio HCL.

(If you have more than three defendants, then all additional defendants must be listed
according to the above format On & separate sheet of paper.)

 

2 Revised 9/2007

 
 

 

  

liCase: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 3 of 25 PagelD #:36

ZA

—1Defeadonk: MN caaet (| Green .

Title :Aasistont Stole's Arrorney of of Bee uK\\ County

|Ploce of Employment Relan GEL

: Defendant’ Roreck Cuntea wn)

LHe’ Vasdle Recent

JfPlace of Emoloqmenke

Defendant. Treaty. Canttnan’

Title. Suge. Cncdendarrr .

iP lace of Ennployment-. Stoll Ale, Cancteckiars. Lenker

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Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 4 of 25 PagelD #:37

Il, List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A.

Cc.

Name of case and docket number: Lizrsf
ZUT Et

Approximate date of filing lawsuit: ALE
List all plaintiffs (if you had co-plaintiffs), including any aliases:
Lil
J Z
I Lif
f\

CALE

Court in which the lawsuit was filed (if Federal court, name the district: if state court,
name the county): \ Jel

 

 

 

 

 

List all defendants:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of judge to whom case was assigned: Lf
ZH
Basic claim made: 2
Aff |
TT 77
Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?): a oe |
AL f/f ff
LY fo
Approximate date of disposition: AL] fai

IF YOU HAVEFILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

 
 

 

Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 5 of 25 PagelD #:38

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places, Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)
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Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 6 of 25 PageID #:39

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Tazewer County, Varkite Center,

 

 
 

 

i . Cuse: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 7 of 25 PagelD #:40
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' “C , Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 8 of 25 PagelD #:41

e a

Vv, Reliefs

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

eld bi foc “ne fous ky Sule wr ou. Sauat aad

 

 

 

 

VI. The plaintiff demands that the case be tried by ajury. KL yes 1 no

CERTIFICATION

By signing this Complaint, | certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. | understand that if this certification is not correct, | may be
subject to sanctions by the Court.

Signed this ‘4 __day of Novienbor 20/4

 

LY ,
i _< Vuze)
(Signature of plaintiff or plaintiffs)

Anthen u Jewye >

(Print name)
m- 30693
(1.D. Number)
Ache ville Correctional Conbi- [ret
4 9. Boy LZ

Joliet mL | ZOU

(Address)

6 Revised 9/2007

 
 

Case: 1:14-cv- a SRS t #bber fed: 11/06/14 Page 9 of 25 PageID #:42
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IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT OF ILLINOIS
TAZEWELL COUNTY

y

PEOPLE OF THE STATE OF ILLINOIS, Plainiff
Case No. AA CF 2/9

. vs.
Lowen Korn eS , Defendant
Zz 7

JUDGE SZ Lone | COURT REPORTER | PROS. ATTY: O79 <2-GAS
DATE 23 HE | COURTROOM 305 | CLERK Cee DEF. ATTY: Agee ces on

}
}
}
}
}

 

 

 

 

 

 

ORDER

HISTOR

1. The parties announce that a tentative plea agreement has been reached, and the parties disclose the
agreement and the reasons for it to jas cont eee) the agreement the Defendant offers to plead

 

 

 

 

guilty to the charge(s) of CLASS Ss,
in vigition of 720 ILCS Sy De 7-3 .
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he plea agreement fully disposes of the case. FILED
Cane Yay, Ata?
Cb. The plea agreement is a partial plea agreement whereby ra

 

 

 

JUL 2 3 2Uz

 

 

 

. ‘ * |
C1 2. Without any agreement of any kind, the Defendant anhounces to the Court that
to waive the Defendant's right to a trial and plead guilty to the charge(s) of

  

1e Defendant desires

 

 

 

 

in violation of 720 TLCS

 

{1 3. The Defendant entered a voluntary plea(s) of guilty on 20 ,
to the charge(s) of

 

 

in violation of 720 ILCS .

O 4. The Defendant was found guilty on __ 20 , by the Court/jury
of the charge(s) of

 

 

in violation of 720 ILCS

 

FINDIN

5. Pursuant to Supreme Court Rule 402, the Court fully INFORMS the Defendant of the Defendant’s rights

and FINDS that the Defendant understands: (1) the nature of the charge(s) against the Defendant; (2) the
minimum and maximum sentence(s) prescribed by law for the charge(s) to which the Defendant has offered to
plead guilty, including any term of Mandatory Supervised Release, and also including when applicable any
penalty to which the Defendant may be subjected because of prior convictions or consecutive sentences; (3) that
the Defendant has the right to plead not guilty, or to persist in that plea if it has already been made, or to plead
guilty; and (4) the Defendant’s right to a trial by jury or by the Court without a jury and that if the Defendant
pleads guilty there will not be a trial of any kind, so that by pleading guilty the Defendant waives the right to a
trial by jury and the right to be confronted with the witness against the Defendant. —

 

 
 

 

Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 10 of 25 PagelD #:43

Page 2, Case No. 7/ CF2/9F

’

vim Court FINDS that the Defendant's plea(s) of guilty and waiver of rights are knowingly,
understandingly and voluntarily made and that no force, threats, improper conduct or promises
(apart for the plea agreement) were used to obtain the Defendant’s plea(s) of guilty.

oA rygcom FINDS after questioning the Defendant in open Court:

. That the plea agreement has been stated in open Court and the terms of the agreement have
been confirmed by the Defendant personally.
Ob. That the Defendant has personally confirmed that there is no plea agreement.

C1 8. The Court FINDS that the Defendant has knowingly, understandingly and voluntarily waived
the Defendant’s right to a preliminary hearing or to be charged by Indictment.

Morne Court FINDS that there is a factual basis for the Defendant’s plea(s) of guilty.

ath Court FINDS the gge of the Defendant to be Z $3 ___ years, the Defendant’s date of
birth being 7772 S$/S83 , . The Court further FINDS the Defendant’s
address to be _ .

{. The Court ORDERS that the Defendant ica s)he jury’s verdict(s)/the Court’s finding(s)
of guilty to the charge(s) of ___» F-@77€'6 EF CLASS FT
in violation of 720ILCS__.5 //7-—F 7 |
is/are accepted and entered of record, and the Court hereby enters judgement on the
plea(s)/verdict(s)/finding(s) of guilty and convicts the Defendant of said charge(s).

PRE-SENTENCING INVESTIGATION

12. This matter is REFERRED to the Adult Probation Office of Tazewell County for a pre-
sentence investigation, psychological evaluation, if appropriate, and written report thereon. A
sentencing hearing is set for , 20 __,at AM/PM.
The Defendant is ORDERED to report to said Probation Office immediately.

WA The Courts FINDS that the Defendant waives the right to a pre-sentence investigation and
written report thereon, both parties having agreed to the imposition of a specific sentence and the
Court having made a finding as to the Defendant’s history of delinquency or criminality.

SENTENCING HEARING
14. Pursuant te 730 ILCS 5/5-4-1, the Court conducts a full sentencing hearing on this date.

AGREEMENT ACCEPTED
15. The Courts announces its acceptance of the plea agreement.

 

 
 

 

Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 11 of 25 PagelD #:44

Page 3, Case No. MCF 2/7

SENTENCE
C1 16. Itis ORDERED that the Defendant is sentenced to Probation/Conditional Discharge/Probation
under 720 ILCS 550/10 or 410, for a period of commencing this date, and the

Court further ORDERS that the conditions of probation or conditional discharge will be those
conditions specified on the Certificate of Probation or Conditional Discharge signed by the
Defendant and filed herein on this date, which certificate is expressly incorporated by reference
into this Order. The Defendant is ORDERED to report immediately to the Adult Probation
Office of Tazewell County.

wn. It is ORDERED that the Defendant is sentenced to imprisonment in the custody of the Illinois

Department of Corrections for the term of Zz ye AES ss (Plus ) years
Mandatory Supervised Release, and the Defendant is committed to the—ctistody of said
Department for the term specified or until discharged by law.

 

O a. This sentence is to run concurrently with

 

CO b. This sentence is to run consecutively to

 

 

O ec. In addition to the sentence of imprisonment, the Defendant is sentenced to pay a fine of
to be paid “, -_ .

CO d. In addition to the sentence of imprisonment, the Defendant is sentenced to make restitution

to 4 in the amount of .

we. T The Court FINDS that the Defendant is eligible for an extended term of imprisonment for the.

offense(s) of “7 otbedcyY (42453 3 because:

1) The Defendant has been convicted of the same or greater class felony within 10

years, excluding time spent in custody, and the charge(s) were separately brought and
tried and arose out of a different series of acts.

 

 

0 (ii) Said offence(s) was/were accompanied by exceptionally brutal or heinous behavior
indicative of wanton cruelty.
Et Execution of this Order:

O (i) is stayed until __, 20 _, at - AM/PM, and the
Defendant is ORDERED to report to the Tazewell County Jail at said date and time, for
no sal to the Illinois Department of Corrections.

ii) shall be without delay, and the Defendant is remanded to the custody of the
Tazewell County Sheriff for transmittal to the Illinois Department of Corrections.

O 18. It is ORDERED that the Defendant is sentenced to imprisonment for

__,a period of less than one year; and the Defendant is committed to

the custody of the Tazewell County Sheriff to serve this sentence in the Tazewell County jail or
another county jail as the Sheriff may determine.

 
 

 

Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 12 of 25 PagelD #:45

Page 4, Case No. Hl CF 2SF

MISCEL ous

6, Judgment is entered against the Defendant for the costs plus all mandatory assessments of this
proceeding.

a0. Cash bail on deposit is to be returned to the Defendant or assignee after payment of costs, 7

mandatory assessments, restitution, fines, public defender fees and other assessments owed by the
Defendant in any other Tazewell County criminal or quasi-criminal cases.

(1 21. Pursuant to the pleas agreement, the following charge(s) is/are dismissed:

 

 

L

o The Defendant is to be given credit for 10 days spent in custody for this
offense, but the Defendant is to be given no credit for time spent on probation.

A Pursuant to Supreme Court Rule 605, the Defendant is informed of the Defendant’s appeal
rights.

 

(1 24. Bail pending appeal is set in the amount pf

c?@

W125. Pursuant to 730 ILCS 5/5-4-3, the Defendant is ordered to submit blood, saliva or tissue

samples to the Iinois Department of State Police for analysis and DNA indexing. Defendant is .
further ordered to pay the statutory analysis fee of $206-60— o- 250

CO immediately, out of bond; or
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O in monthly instailméats of until paid in full.

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case: 1:14-cv- 0898 camel Art Aled: 11/06/14 Page 13 of 25 PagelD #:46
“4 ° - “INS \ )

MSR VIOLATORS SENTENCED UNDER 1978 LAW

 

 

 

 

 

 

   

 

 

 

 

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Projected Discharge/Out Date | | 7! Terminal Operator
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Case: 1:14-cy68963 Doc\iAEe Fi
‘ #:)| Filed:
/ Ninian’ & iled: 11/06/14 Page 14 of 25 PagelD #:47

‘ ° IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT
TAZEWELL COUNTY, ILLINOIS

t

Case # 2013CFONNMECEIVED
| Wargant #42918 FEB 26 2013

W ARRANT ‘OF ARREST TAZEWELL COUNTY SHERIFF

 

THE PEOPLE OF THE STATE OF ILLINGIS ...
ae

    
  

v.
, ANTHONY JEROME JAMES

 

 

 

 

 

 

Last Known Address: Date of Birth: 11/25/1983
PEORIA, IL 61605
, DL: O
Alias(es): .
JAMES, ANTHONY JEROME AKA Person #100100819
SEX RACE HEIGHT WEIGHT HAIR EYES
M B 601" 220 BLK BRO

 

 

TO ALL PEACE OFFICERS OF THE STATE OF ILLINOIS: You are hereby commanded to arrest ANTHONY JEROME
JAMES, hold that person to bail, and bring that person, without unnecessary delay, before Judge KEVIN R GALLEY of the |
Tenth Judicial Circuit in the courtroom usually occupied by this judge in the Tazewell County Courthouse, 342 Court Street,
Pekin, Illinois, 61554, or if this judge is unable to act then before the most accessible judge in Tazewell County, to answer for the
following offense(s): ,

von

BURGLARY ; RETAIL THEFT/DISP MERCH/>$300 ;

1/4
Warrant Type: Contempt - Failure to Appear Criminal Date of Offense: 06/23/2012
Service Limits: E2EINO@IS SER ONE:

 

    

 

   

Bail: $10,000.00, Bond - 10%

Issued at Pekin, Tazewell County, Illinois, Kb u/ f . Mery
d

this February 26, 2013 Judge

 

STATE OF ILLINOIS 5s
TAZEWELL COUNTY ‘

. a MAZE ES om
[ have executed the above warrant by arresting the Defendant named therein in accordance wi 25: /KCSSIEG-2.-...

 

 

 

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The defendant was released on bail in the amount of $ . _, this \ day of le eee?
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20 \D _FEES: Service and return $- ¢.0 ; Mileage $ VOC A mi. @ $_* SO per mi.) "
TOTAL: $~\-(
Peace Officer

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JUN 27 2013

. STATE OF ILLINOIS
IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT
COUNTY OF TAZEWELL Q te
T LL GOUNTY CIRCUIT CLERK
TENTH JUDICIAL CIRCUIT OF ILLINOIS
The People of the State of Illinois
v.

DEFENDANT:
ANTHONY JEROME JAMES Case # 2013CF000027

1026 SW MORELAND
PEORIA, IL 61605

BILL OF INDICTMENT

COUNT 1: The Grand Jury of Tazewell County, Illinois, charges that
ANTHONY JEROME JAMES, on or about the 23rd day of June, 2012, at East
Peoria, in the County of Tazewell, State of Illinois, committed the

offense of

BURGLARY

IN THAT SAID DEFENDANT KNOWINGLY AND WITHOUT AUTHORITY ENTERED WALMART WITH
THE INTENT TO COMMIT THEREIN A THEFT,

in violation of 720 ILCS 5/19-1 (a) A Class 2 Felony

COUNT 2: The Grand Jury of Tazewell County, Illinois, charges that
ANTHONY JEROME JAMES, on or about the 23rd day of June, 2012, at East
Peoria, in the County of Tazewell, State of Illinois, committed the

offense of

RETAIL THEFT OVER $300

IN THAT SAID DEFENDANT KNOWINGLY TOOK POSSESSION OF A BLENDER AND AN AIR
CONDITIONER WHICH WAS MERCHANDISE OFFERED FOR SALE AT WALMART, A RETAIL
MERCANTILE ESTABLISHMENT, WITH THE INTENT TO PERMANENTLY DEPRIVE SAID
MERCHANT OF THE POSSESSION, USE OR BENEFIT OF SAID MERCHANDISE, WITHOUT ©
PAYING THE FULL RETAIL VALUE OF SAID MERCHANDISE, SAID MERCHANDISE HAVING A

FULL RETAIL VALUE EXCEEDING $300.00,

in violation of 720 ILCS 5/16-25 (a) (1) A Class 3 Felony

A TRUE BILL

DEFENDANT DESCRIPTION

 

 

DOB: 11/25/1983 Sex: MALE Race:Black
Height: 601 Weight: 220
Hair: BLK : BR
Byes: BRO Foreperson

List of Witnesses:

 

 
 

Case: Py 9S AG: 11/06/14 Page 16 of 25 PagelD #:49

IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT OF ILLINOIS

 

 

 

 

 

 

 

TAZEWELL COUNTY
PEOPLE OF THE STATE OF ILLINOIS, Plainiff }
}
J. vs. }
( 4
thon Tomes _,Defendant } Case No. / 3° Cr Al
JUDGE inet . | COURTREPORTER Loy’ | PROS. ATTY: /N6H
DATE ‘ag ¥-dy | COURTROOM 40S | CLERK (G _ | DEF. ATTY: J C
&L-ly¥
ORDER
HISTORY

A 1. The parties announce that a tentative plea agreement has been reached, and the parties disclose the

 

 

 

 

 

 

 

 

 

 

 

 

agreement and the reasoys ha eee htc Pursuant to the agreement the Defendant offers to plead
guilty to the charge(s) of or | Class 3)
trx/nr Er j

in violation of 7201LCS___S] /¢-2s la) Coat Ladies my |
aN The plea agreement fully disposes of the case. by

Ob. The plea agreement is a partial plea agreement whereby _+ SUN -2 2014

¢ : TLOeh 1,
j 4G JUDICIAL, CU a nie re

 

 

 

 

C] 2. Without any agreement of any kind, the Defendant announces to the Court that the Defendant desires
to waive the Defendant’s right to a trial and plead guilty to the charge(s) of

 

 

 

 

 

 

 

 

 

 

 

in violation of 720 ILCS

CO 3. The Defendant entered a voluntary plea(s) of guilty on 20_ _ 3

to the charge(s) of

in violation of 720 ILCS :

O 4. The Defendant was found guilty on 20 __, by the Court/jury

of the charge(s) of

in violation of 720 ILCS
FINDING

a 5. Pursuant to Supreme Court Rule 402, the Court fully INFORMS the Defendant of the Defendant’s rights

and FINDS that the Defendant understands: (1) the nature of the charge(s) against the Defendant; (2) the
minimum and maximum sentence(s) prescribed by law for the charge(s) to which the Defendant has offered to
plead guilty, including any term of Mandatory Supervised Release, and also including when applicable any
penalty to which the Defendant may be subjected because of prior convictions or consecutive sentences; (3) that
the Defendant has the right to plead not guilty, or to persist in that plea if it has already been made, or to plead
guilty; and (4) the Defendant’s right to a trial by jury or by the Court without a jury and that if the Defendant
pleads guilty there will not be a trial of any kind, so that by pleading guilty the Defendant waives the right to a_
trial by jury and the right to be confronted with the witness against the Defendant. ‘

 
 

Case: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page:.17:of 25 PagelD #:50
| . Page 2, Case No. —13-CE UT)

oH 6. The Court FINDS that the Defendant's plea(s) of guilty and waiver of rights are knowingly,

understandingly and voluntarily made and that no force, threats, improper conduct or promises
(apart for the plea agreement) were used to obtain the Defendant’s plea(s) of guilty.

7. The Court FINDS after questioning the Defendant in open Court:

‘a. That the plea agreement has been stated in open Court and the terms of the agreement have
been confirmed by the Defendant personally.

Ob. That the Defendant has personally confirmed that there is no plea agreement.

O 8. The Court FINDS that the Defendant has knowingly, understandingly and voluntarily waived
the Defendant’s right to a preliminary hearing or to be charged by Indictment.

a 9. The Court FINDS that there is a factual basis for the Defendant’s plea(s) of guilty.

 

 

 

 

-10. The Court FINDS the age of the Defendant to be years, the Defendant’s date of
birth being —_//: LS . /90___. The Court further FINDS the Defendant’s
address to be : .

CONVICTION . OO
11. The Court ORDERS enastie patent fen jury’s verdict(s)/the Court’s finding(s)
of guilty to the charge(s) of efor a.
in violation of 720 ILCS Siig tse) G) .

 

is/are accepted and entered of record, and the Court hereby enters judgement on the
verdict(s)/finding(s) of guilty and convicts the Defendant of said charge(s).

PRE-SENTENCING INVESTIGATION

O 12. This matter is REFERRED to the Adult Probation Office of Tazewell County for a pre-
sentence investigation, psychological evaluation, if appropriate, and written report thereon. A
sentencing hearing is set for —_, 20 __,at AM/PM.
The Defendant is ORDERED to report to said Probation Office immediately.

13. The Courts FINDS that the Defendant waives the right to a pre-sentence investigation and

written report thereon, both parties having agreed to the imposition of a specific sentence and the
Court having made a finding as to the Defendant’s history of delinquency or criminality.

SENTENCING HEARING
pa. 14. Pursuant to 730 ILCS 5/5-4-1, the Court conducts a full sentencing hearing on this date.

AGREEMENT ACCEPTED.
A 15. The Courts announces its acceptance of the plea agreement.

 

 
 

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e: 1:14-cv-08953 Document #: 1 Filed: 11/06/14 Page 18 of 25 PagelD #:51

Page 3, Case No. /[ 3- cf- L |

SENTENCE
C1 16, Itis ORDERED that the Defendant is sentenced to Probation/Conditional Discharge/Probation
under 720 ILCS 550/10 or 410, for a period of commencing this date, and the

__

Court further ORDERS that the conditions of probation or conditional discharge will be those
conditions specified on the Certificate of Probation or Conditional Discharge signed by the
Defendant and filed herein on this date, which certificate is expressly incorporated by reference
into this Order. The Defendant is ORDERED to report immediately to the Adult Probation
Office of Tazewell County.

JA. It is ORDERED that the Defendant is sentenced imprisonment in the custody of the Dlinois

Department of Corrections for the term of “pais Lgeote, plus f .. yearx

Mandatory Supervised Release, and the Defendant is committ d to the custody of said
Department for the term specified or until discharged by law.

 

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FILES
. . fe C? tal tamannn
CD a. This sentence is to run concurrently with
Ub. This sentence is to run consecutively to N= 2014

 

 

 

 

 

 

 

 c. In addition to the sentence of imprisonment, the Defe Went isisentenced to: pay 4 fine of
to be paid “3 .
Cc d. In addition to the sentence of imprisonment, the Defendant is sentenced to make restitution
to in the amount of .
Ce. The Court FINDS that the Defendant is eligible for an extended term of imprisonment for the
offense(s) of : because:
Cl (i) The Defendant has been convicted ‘of the same or greater class felony within 10

years, excluding time spent in custody, and the charge(s) were separately brought and
tried and arose out of a different series of acts.

 

0 (ii) Said offence(s) was/were accompanied by exceptionally brutal or heinous behavior
indicative of wanton cruelty.
FAL. Execution of this Order:

O (i) is stayed until . , 20__, at AM/PM, and the
Defendant is ORDERED to report to the Tazewell County Jail at said date and time, for
transmittal to the Illinois Department of Corrections.

w (ii) shall be without delay, and the Defendant is remanded to the custody of the
Tazewell County Sheriff for transmittal to the Illinois Department of Corrections.

O 18. It is ORDERED that the Defendant is sentenced to imprisonment for
__, a period of less than one year; and the Defendant is committed to
the custody of the Tazewell County Sheriff to serve this sentence in the Tazewell County jail or
another county jail as the Sheriff may determine.
 

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MISCELLANOUS
19. Judgment is entered ag
proceeding.

ainst the Defendant for the costs plus all mandatory assessments of this

ed to the Defendant or assignee after payment of costs,

C) 20. Cash bail on deposit is to be return
mandatory assessments, restitution, fines, public defender fees and other assessments owed by the
Defendant in any other Tazewell County criminal or quasi-criminal cases.

a 41. Pursuant to the pleas agreement,

Cont

the following charge(s) is/are dismissed:

2S ACTUALY
days spent in custody for this

 

22. The Defendant is to be given credit for
offense, but the Defendant is to be given no cre

e Court Rule 605, the Defendant is informed of the Defendant’s appeal

x 23. Pursuant to Suprem
rights.

 

1 24. Bail pending appeal is set in the amount of

25. Pursuant to 730 ILCS 5/5-4-3, the Defendant is ordered to submit blood, saliva or tissue
samples to the [linois Department of State Police for analysis and DNA indexing. Defendant is
further ordered to pay the statutory analysis fee of s200-0 fA rab pres ?

O immediately, out of bond; or

Xl by Spt GUIS 5 or

CO in monthly installments of until paid in full.

 

C1. 26, Other:

 

 

 

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Entered: °
Judge of the Tenth Judicial Circuit
 

Case: 1:14-cv-08953 Docume #:,L Filed: 41 ! 4 pa e 20 of 25 PagelTy#:
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SINGLE CR CONCURRENT DETERMINATE SENTENCES UNDER 1978 LAW AND JAIL CREDIT

NAME ne J, rane number M 2060 4

 

 

 

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: Case: 1:14-cv-08953 Bacytpern pte: duiosina Page 21 of 25 PagelD #:54
WV ILLINOIS DEPARTMENT OF CORRECTIONS 2 G

No Warrant MSR Violation or Notice of Charges of Parole Violation

Releasee: AnthonyJames ID#: M30693__ AKA:

 

FBli#: 3788294DC7 Chicago PD (IR#): State Police (SID#): 16111531

Release Date; ss Sentence Expiration Date: Violation Date: 6/23/12
: (date of commission of crime)

You are hereby notified that you are charged with having committed the following violation of your conditional Release
Agreement/Mandatory Supervised Release Agreement:

Rule 1. Failure to obey all municipal, county, state, and federal laws and ordinances.

 

 

 

 

 

Description of violation:
Sentence in Tazewell County County Illinois in Case Number 13CF27 to 2 years
for the offense of Retail Theft
Khefoey~ sens
Agent or IDOC Representative Signature hn

 

| have received a copy of this Notice of Charges

Ae fr

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Lh har)

 

A copy of this Notice of Charges was delivered by:

TT. TOHVISOIN S. Gobousen

Print Name VU Signature

C17 — _&falry

Distribution: Offender
Prisoner Review Board DOC 0344 (Ei. 6/2008)

Offender Master File Printed on Recycled Paper

 
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STATE OF ILLINOIS |
(p\ PRISONER REVIEW BOARD

WAIVER op PRESENCE ar REVOCATION HEARING
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a Violation Of the Teleage Conditiong
but if the Board finds that. a violator, I accept that
decision as final,

* *BOARD ZRg

 

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Date ag
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730 Tics 5(F-3-7
/3. TLS S/F-3-10

IL 578-0033
 

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4 State of Illinois
_ PRISONER REVIEW BOARD ORDER Date: June 25, 2014
Nams. Number Facility Docket No,
James, Anthony M30693 Nid PN/AB

 

 

 

 

To the Warden -

The following order is your authority to retease this individual on parole to the custody and supervision of the Office of Community Supervision, or continue to hold as indicated.
If parole i is ordered, said order is subject to being vacated prior to release to parole, Any release is contingent upon execution of Parole or Mandatory Supervised Release:

 

 

 

 

 

mere.
x PA ROLE/MANDATORY SUPERVISED RELEASE REVOCATION QO PAROLE
CO Foung not to be a violator Violator Rationale 0 Parole granted effective when
The inmate named has violated parole or Mandatory
&. Desired aviolaraot y Supervised Release because the inmate: 1 Parole ptans are approved
3 a on ; O Minimum is served
PX commited the crimina attense of _\PYEFT— © Eligibie
2 Statutory Parole
X Mandatory Supervised Release CG Subject to regular conditions and
C Parole
Oparol , ed Q Subject to condition(s) listed below
le or release revo
B* Violated condition(s)__ OF
@ Continued to CO Parole denied, continued to
O Parole or selease continued of the Parole or Release Agreement,
Q Hearing continued to
a QO Viclated condition(s) ;
Effective. O Psychiatric Report rec
O For verification of parole plans
of your Special Order. GO At inmate's request
OG Effective when plans are approved GO Absconded, O Release date offer attached to and made a part
of this order,
Q Subject to Condition(s) listed below C) Failed to report or falsified report(s).
G See Rationale attached to and made a part of
Release effective upon the approval of a viable host Evidence Relled Upon this Order

Site as determined by IDOC. (Sex affenders only)
QO Hearing continucd to

CQ For further information
© For Court Disposition
O At inmate's request

O_For Violation Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The Board finds that this evidence is sulficlent because:

1 Counselor’s Report Order of
Q Police Report
CQ Witesses testimony GO Amended
QQ Own Admission OF Stayed
Q Vacated
SPECIAL ORDER:

 

QO Substance Abuse Counseling (CD)

 

| _
ee

ia)

Qo

 

C1 No Victim Contact (CT)

YOU ARE OBLIGATED TO THE GENERAL RULES GOVERNING PAROLEES OR
MANDATORY SUPERVISED RELEASEES AND THE FOLLOWING SPECIAL ORDER(S):

Outpatient Mental Health Counseling (CP)
Electronic Monitoring (CE) for a period of

G Anger Management Counseling (CG)
OC Sex Offender Counseling (CX)

 

 

 

a

 

 

sites. (CC)

 

Q Other: (CO)

No Computer/Intemet Access ~ You are not to have Internet access of any type through a
Computer, WebTV, cell phone, personal digital assistant (PDA), or any other device without prior
approval by your parule agent, Approval for internet access may only be made for employment and
schoo! related activites. You are prohibited from establishing a profile or utilizing someone else's
profile on a social-networking website and from contacting or communication with minors on these

 

 

 

 

PRISONER REVIEW BOARD:

 

 

 

 

 

 

 

 

 

 

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2 Case: 1:14-cv-08953 OR RANE Ele yL087 Page 24 of 25 PagelD #:57

 

 

 

 

 

 

 

ILLINOIS DEPARTMENTOF CORRECTIONS nb
_. OFFENDER'S: GRIEVANCE a
. = wanes eT ReS

Dero: , Offender: ond , -
2 BY 21d orenaer: Anthony Sames # 3009.3 _
- Present Facility: , Facility where gri .

rosont Facility: SHedewille INC. Farge erere Grievance otevitle i NRC:
NATURE OF GRIEVANCE:

[1 Personal Property C] Mall Handling C1 Restoration of Good Time [7] Disability

C1] Staff Conduct Ci Dietary C1 Medical Treatment — (1 HIPAA :

[] Transfer Denial by Facility ([] Transfer Denial by Transfer Coordinator ; Bid Other jepecityx: Mek Vinlakon!.

[] Disciptinary Report: i 1

Date of Report Facility where Issued

Note: Protective Custody Denials may be grieved immediately via the focal administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc. ) and send to:

Counselor, unless the issue involves discipiine, Is deemed an emergency, or 's subject to direct review by the Administrative Review Board,

Grievance Officer, only if the Issue involves discipline at the present facility or Issue not resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.

Administrative Review Board, only if the Issue involves transfer denial by the Transfer Coordinator, protective oustody, Involuntary

garministration of psychotropic drugs, issues from another facility except personal property fssues, or issues not resolved by the Chief
ministrative Officer.

Brief Summary of Grievance:

 

 

 

 

 

Gad Taine Lyeac dlmenths and 4 CO y22_. Muy Parle LOR violated {oc Cose I3(EZ7

 

heme pe by low T= rant violate parile Dor a fone thet took plate lo-fore Was eee

or 2erving Hime Rx! a
[1 Check only if this Is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or irreparable harm to self.

 

Offender's Signature . Date
(Continus on reverse side if necessary)

Cascy Jamo | M3093 ___ —Lieif, tail

 

 

 

Counselor's Response (if applicable)

Date
Received: A 4 [C] Send directly to Grievance Officer [1] Outside jurisdiction of this facility. Send to

Administrative Review Board, P.O. Box 19277,
§ ae iL 82764-0277

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PLB. Mk A Wisntishal WY Lees A Land b Wate hk tkEb,

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Print Counselor's Narne Counselors Signature "Date of abrons
EMERGENCY REVIEW —

Date

Recelved: = s/t CsI this determined to ba of an emergency nature? [[] Yes: expedite emergency grievance
(1 Ne: an emergency is not substantlated.
Offender should submit this grievance
{in the normal manner.

: i i
Chief Administrative Officer's Signature Date
Distribution: Meater File; Offender Page 1 DGC 6044 (Rev. 3/2005)

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ILLINOIS DEPARTMENT OF CORRECTIONS

OFFENDER'S GRIEVANCE (Continued)

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